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14                                  UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16                                       SAN FRANCISCO DIVISION

17
     DELL INC. and DELL PRODUCTS L.P.,
18
                                   Plaintiffs,                     Master File No. 3:07-cv-05944-SC
19
            v.
                                                                   MDL No. 1917
20   HITACHI, LTD., et al.,
                                   Defendants.                     Individual Case No. 3:13-cv-02171-SC
21
                                                                   DELL INC. AND DELL PRODUCTS
22                                                                 L.P.’S BRIEF IN OPPOSITION TO THE
                                                                   TOSHIBA DEFENDANTS’ MOTION
23                                                                 TO DISMISS DELL’S FIRST
                                                                   AMENDED COMPLAINT
24
                                                                   Date:       December 20, 2013
25                                                                 Time:       10:00 a.m.
                                                                   Crtrm.:     1
26                                                                 Judge:      Honorable Samuel Conti
27

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 1   I.        STATEMENT OF THE ISSUES TO BE DECIDED
 2             Toshiba Corporation, Toshiba American Information Systems, Inc., and Toshiba America

 3   Electronic Components, Inc. (collectively, “Toshiba”) have moved to dismiss Dell’s First Amended

 4   Complaint (“FAC”). Toshiba argues that Dell’s FAC fails to allege facts to support standing under the

 5   ownership or control exception to Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977). As set forth

 6   below, Toshiba’s Motion is without merit and should be denied.

 7   II.       INTRODUCTION
 8             As a threshold matter, Toshiba’s Motion—notably not joined by any other Defendant—ignores

 9   the fact that this Court has already addressed the availability of the ownership or control exception in

10   numerous orders in this multi-district litigation (“MDL”) and has held that the Plaintiffs have standing

11   to proceed. See, e.g., Order Granting In Part and Denying In Part Defs.’ Joint Mot. for Summary

12   Judgment (“Summary Judgment Order”), MDL Dkt. No. 1470 (November 29, 2012) (holding that

13   Plaintiffs that purchased finished CRT Products from companies in an ownership or control

14   relationship with Defendants and co-conspirators have standing under Illinois Brick); Order Adopting

15   in Part and Modifying in Part Special Master’s Report & Recommendation on Defs.’ Motion to

16   Dismiss the Direct Action Plaintiffs’ Complaints (“DAP Motion to Dismiss Order”), MDL Dkt. No.

17   1856 (August 21, 2013) (denying Defendants’ Joint Motion to Dismiss DAP Complaints under Illinois

18   Brick).

19             Toshiba’s Motion is also off the mark because counsel for Toshiba specifically negotiated a

20   stipulation and accompanying order with Dell addressing the application of the ownership or control

21   exception to Dell’s claims. See Stip. and Proposed Order setting Schedule for Defs’ to Answer or

22   Otherwise Respond to the Dell Amended Complaint, Sharp Complaint, and Tech Data Amended

23   Complaint (“October 1 Stipulation”), MDL Dkt. No. 1969. The Stipulation is clear: the Court’s prior

24   ownership and control orders govern the Dell case. Toshiba’s Motion to Dismiss should be denied on

25   this basis alone.

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 1          Despite the Court’s prior and unambiguous rulings on ownership and control and the October 1
 2   Stipulation, Toshiba seeks to rehash these settled issues with meritless arguments. 1 In its Motion,
 3   Toshiba attempts to rewrite the pleading standards of Rule 8 and thereby impose false hurdles for Dell
 4   to overcome. The barriers Toshiba seeks to create, however, have already been rejected by this Court
 5   and others courts in the Northern District of California. Toshiba, moreover, cannot in good faith argue
 6   that, after six years in this MDL with access to voluminous documents, deposition transcripts and a
 7   substantial record, it does not have notice of Dell’s claims. For all of these reasons, Toshiba’s Motion
 8   to Dismiss should be denied.
 9   III.   FACTUAL BACKGROUND
10          This litigation has been ongoing since 2007 when the first Direct Purchaser Plaintiffs (“DPP”)
11   and Indirect Purchaser Plaintiffs (“IPP”) class action complaints were filed. Before Dell filed a
12   complaint in this action, Dell produced electronic data describing Dell’s purchases of CRT Products in
13   response to a third-party subpoena from the IPP class, which were provided to the Defendants.
14   Declaration of Debra D. Bernstein in Support of Plaintiffs Dell Inc. and Dell Products L.P.’s Brief in
15   Opposition to Toshiba’s Motion to Dismiss (“Bernstein Decl.”) ¶ 4. Dell has also provided additional
16   information regarding this data in response to two subpoenas served on Dell in October 2012 by
17   Defendant Samsung SDI. Id. ¶ 5. Defendants and third party CRT Product manufacturers have also
18   produced their own sales data, including data identifying sales to Dell. Id. ¶ 6. Toshiba had access to
19   this data, even though Dell—a non-party prior to May 2013—did not. Id. ¶ 7.
20          Dell filed its original Complaint in February 2013 and became a party to this MDL in May
21   2013. Dell Dkt. No. 7. Dell’s FAC mirrors the allegations set forth by the DPPs and DAPs on
22   ownership and control. Specifically, Dell alleges that it “purchased . . . CRT Products directly from
23   Defendants and their co-conspirators, and/or Defendants’ or their co-conspirators’ subsidiaries and
24   affiliates, and/or through agents the Defendants and their co-conspirators or Defendants’ and their co-
25   conspirators’ subsidiaries and affiliates controlled.” FAC ¶ 10. Dell also alleges that it “purchased
26
            1
              Dell and Toshiba are in the midst of discovery on Dell’s claims and evidence already
27   produced demonstrates factual support for Dell’s standing under the ownership or control exception.
     Bernstein Decl. ¶ 8.
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     DELL’S BRIEF IN OPPOSITION TO                                       MASTER FILE NO. 3:07-CV-05944-SC
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 1   CRT Products that incorporated price-fixed CRTs directly from Defendants and co-conspirators,
 2   and/or Defendants’ and co-conspirators’ subsidiaries and affiliates, and/or any agents controlled by
 3   Defendants, Defendants’ subsidiaries and affiliates, co-conspirators or co-conspirators’ subsidiaries
 4   and affiliates. . . . As such, Dell suffered injury as a result of Defendants’ and co-conspirators’
 5   unlawful conduct.” Id. ¶ 20. Finally, Dell alleges that it “frequently held in-person negotiations on the
 6   price and volume of CRT Products it purchased with Defendants and co-conspirators, and/or
 7   Defendants’ and co-conspirators’ subsidiaries, affiliates, and/or agents controlled by Defendants,
 8   Defendants’ subsidiaries and affiliates, co-conspirators or co-conspirators’ subsidiaries and affiliates.”
 9   Id. ¶ 21. These allegations clearly put all Defendants, including Toshiba, on notice that Dell is
10   pursuing claims under the ownership or control exception to Illinois Brick.
11          When Dell became a party to this litigation, the Court had already issued a substantive order
12   denying Defendants’ Joint Motion for Summary Judgment against the DPPs on the ownership and
13   control exception to Illinois Brick. See Summary Judgment Order at 23. The Court specifically
14   “conclude[d] that the ownership-and-control exception of Royal Printing does apply” and that “the
15   Named DPPs have standing to sue for alleged overcharges passed on to them when they purchased [a
16   Finished Product] containing an allegedly price-fixed CRT from an entity allegedly owned or
17   controlled by any allegedly conspiring Defendant.” Id. The Court affirmed its prior holding and
18   reiterated the application of that holding to the Direct Action Plaintiffs. See DAP Motion to Dismiss
19   Order at 5 (denying Defendants’ motion to dismiss “to the extent that it challenges the DAPs’ right to
20   proceed under the ownership or control exception”). After the Court issued that Order, counsel for
21   Toshiba drafted a stipulation regarding the schedule for answering or moving to dismiss Dell’s FAC
22   and the subject matter of any motions to dismiss.2 Bernstein Decl. ¶ 9. This Stipulation, which this
23   Court entered on October 1, 2013, ordered that:
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              Dell and Defendants agreed to an extension of the deadline for responding to the FAC,
26   pending this Court’s resolution of the objections to the Special Master’s Report and Recommendation
     dismissing certain claims asserted by the other DAP complaints since the complaints raise the same
27   issues. Order on Stipulation and Order re: First Amended Complaint, MDL Dkt. No. 1763 (July 3,
     2013).
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 1          4.      The Stipulating Plaintiffs and Defendants agree that the issues addressed by the Court’s
 2                  August 21, 2013 Order regarding the Illinois Brick exceptions apply to the Stipulating
 3                  Plaintiffs’ actions;
            ...
 4
            6.      The undersigned Defendants’ request to dismiss the Stipulating Plaintiffs’ right to
 5
                    proceed under the ‘ownership or control’ exception to Illinois Brick is denied for the
 6
                    reasons set forth in the August 21, 2013 Order.
 7

 8          October 1 Stip. at 4. The parties entered the Stipulation to allow these cases to move forward

 9   without wasting judicial resources on issues this Court has already decided. Despite Toshiba’s request

10   for this Stipulation and draft of the same, Toshiba filed this Motion on the very issue it stipulated had

11   already been decided.

12   IV.    STANDARD OF REVIEW
13          To survive a motion to dismiss for failure to state a claim, Dell need only allege “enough facts
14   to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
15   (2007). As this Court has recognized, “‘[s]pecific facts are not necessary; the statement need only give
16   the defendant[s] fair notice of what . . . the claim is and the grounds upon which it rests.’” See Order
17   Approving and Adopting Special Master’s Report, Recommendations and Tentative Rulings re:
18   Defendants’ Motions to Dismiss, In re Cathode Ray Tube (CRT) Antitrust Litig., 738 F. Supp. 2d 1011,
19   1017 (N.D. Cal. 2010), MDL Dkt. No. 665 (“Class MTD Order”) (quoting Erickson v. Pardus, 551
20   U.S. 89, 93 (2007) (internal quotation marks omitted)). Indeed, courts view Rule 12(b)(6) motions
21   with “disfavor” because of the lesser role pleadings play in federal practice and the liberal policy
22   regarding amendment. See, e.g., Broam v. Bogan, 320 F.3d 1023, 1028 (9th Cir. 2003) (Rule 12(b)(6)
23   dismissal with prejudice proper only in “extraordinary” cases); Lormand v. US Unwired, Inc., 565 F.
24   3d 228, 232 (5th Cir. 2009) (Rule 12(b)(6) motions are “viewed with disfavor [and] rarely granted”).
25          To successfully state a claim under Section 1 of the Sherman Act, a plaintiff need only meet the
26   notice pleading standard articulated in Fed. R. Civ. P. 8(a)(2). Rule 8(a)(2) requires “‘a short and plain
27   statement of the claim showing that the pleader is entitled to relief,’ in order to ‘give the defendant fair
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 1   notice of what the . . . claim is and the grounds upon which it rests.’” William O. Gilley Enters., Inc. v.
 2   Atl. Richfield Co., 588 F.3d 659, 667 (9th Cir. 2009) (quoting Twombly, 550 U.S. at 555). Rule 8 does
 3   not require detailed factual allegations and “Twombly did not signal a switch to fact-pleading in the
 4   federal courts.” Villegas v. J.P. Morgan Chase & Co., No. C 09–00261 SBA, 2009 WL 605833, at *2
 5   (N.D. Cal. Mar. 9, 2009); see also Ashcroft v. Iqbal, 556 U.S. 662, 667-78 (2009). Under Twombly’s
 6   construction of Rule 8, a plaintiff merely has to “nudge[] [its] claims . . . ‘across the line from
 7   conceivable to plausible.’” 550 U.S. at 570.
 8          Subject to the requirement that the complaint show a “plausible” claim for relief, the court must
 9   accept as true all material factual allegations in the complaint, draw inferences from those allegations
10   in the light most favorable to plaintiff, and construe the complaint liberally. See Barker v. Riverside
11   Cnty. Office of Educ., 584 F.3d 821, 824 (9th Cir. 2009); Braden v. Wal-Mart Stores, Inc., 588 F.3d
12   585, 595 (8th Cir. 2009); Rescuecom Corp. v. Google, Inc., 562 F.3d 123, 127 (2d Cir. 2009).
13   V.     ARGUMENT AND AUTHORITY
14          A.      Toshiba’s Motion Is Precluded by the October 1 Stipulation
15          There is no doubt that “stipulations and admissions in the pleadings are generally binding on
16   the parties and the Court.” Am. Title Ins. Co. v. Lacelaw Corp., 861 F.2d 224, 226 (9th Cir. 1988)
17   (internal quotation marks omitted); Nextdoor.Com, Inc. v. Abhyanker, No. C-12-5667 EMC, 2013 WL
18   3802526, at *8 (N.D. Cal. July 19, 2013). In order to conserve judicial resources and avoid duplicative
19   motions to dismiss, Dell (and the other Stipulating Plaintiffs) agreed to enter into the October 1
20   Stipulation. Dell understood that by entering into this stipulation, Defendants agreed they would not
21   move to dismiss Dell’s FAC on the ownership or control exception, because it already had been the
22   subject of prior orders by this Court.3 See Bernstein Decl. ¶¶ 10-12.
23          Toshiba’s Motion to Dismiss Dell’s FAC violates the very Stipulation that it drafted and
24   executed. The October 1 Stipulation clearly provides that “the issues addressed by the Court’s August
25   21, 2013 Order regarding the Illinois Brick exceptions apply to the Stipulating Plaintiffs’ actions” and
26
            3
              Given that no other Defendant joined Toshiba’s Motion, the other Defendants apparently
27   either agree with Dell’s interpretation that the October 1 Stipulation precludes this argument or agree
     that Toshiba’s Motion lacks any basis in law, as explained below.
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 1   that Defendants’ Motion to Dismiss based on plaintiffs’ “right to proceed under the ‘ownership or
 2   control’ exception to Illinois Brick is denied.” October 1 Stip. at 4. Nonetheless, Toshiba is now
 3   trying to resurrect arguments about the ownership or control exception that are connected to the
 4   Court’s prior orders on the issue and precluded by the October 1 Stipulation.4
 5          B.      Dell’s Allegations Are Sufficient to Support Standing
 6          Toshiba’s Motion should be denied for the independent reason that Dell’s allegations are
 7   sufficient under Rule 8’s notice pleading requirements. Rule 8 does not require pleading of specific
 8   facts. See Class MTD Order at 5. Instead, “‘the statement need only give the defendant[s] fair notice
 9   of what . . . the claim is and the grounds upon which it rests.’” Id. (quoting Erickson, 551 U.S. at 93
10   (2007). Dell has satisfied this standard. Dell alleges that it purchased CRT Products from Defendants
11   and co-conspirators, “subsidiaries and affiliates” of Defendants and co-conspirators, and/or from
12   “agents controlled by” those subsidiaries and affiliates or by Defendants.5 FAC ¶¶ 10, 20, 21. These
13   allegations are sufficient to put Toshiba on notice that Dell is seeking damages for its purchases of
14   CRT Products from Defendants and co-conspirators directly and from their subsidiaries, affiliates and
15   agents thereof. By referring to “subsidiaries”, “affiliates”, and “agents”, Toshiba is on notice that Dell
16   is seeking claims based on ownership or control. Toshiba admits as much in its Motion. Toshiba Mot.
17   at 3 (recognizing that Dell purchased CRT Products and that those purchases were from, among other
18   sources, “‘Defendants’ and co-conspirators’ subsidiaries and affiliates’” (quoting FAC ¶ 20)).
19          4
               In the DAP Motion to Dismiss Order, the Court “expresse[d] no view as to whether the DAPs
20   will be able to prove what is needed to establish the ownership or control exception” and made “no
     ruling on the adequacy of the DAPs’ allegations of ownership and control.” DAP Mot. to Dismiss
21   Order at 5. Toshiba relies on this language to argue that “the question of whether Dell has made
     appropriate allegations of ownership or control is properly before the Court.” Mot. at 6. Notably,
22   Toshiba did not challenge the adequacy of the ownership or control allegations in at least 10 other DAP
     complaints, even though the ownership or control allegations in those amended complaints are
23   identical to the allegations in Dell’s FAC. See MDL Dkt. Nos. 2042 – 2091 (Toshiba filing answers to
     DAP amended complaints and not moving to dismiss). Toshiba’s decision to rehash ownership and
24   control issues with Dell’s complaint—and not other DAPs that make the same allegations—is also at
     odds with the intent and purpose of the October 1 Stipulation, which was to avoid additional motions
25   on Illinois Brick grounds. See Bernstein Decl. ¶¶ 10-12. Toshiba makes no effort to explain why its
     Motion is not prohibited by the October 1 Stipulation.
26           5
               Based on these allegations, Dell is not (as Toshiba suggests) asserting standing “solely on the
     ground that it ‘purchase[d] directly from the alleged violator.’” Mot. at 11 (quoting In re ATM Fee
27   Antitrust Litig., 686 F.3d 741, 755 n.7 (9th Cir. 2012)). Dell clearly alleges that it purchased CRT
     Products from Defendants and from subsidiaries, affiliates, and agents of Defendants. FAC ¶¶ 10, 20.
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 1          As a matter of law, Toshiba is incorrect in its argument that Dell “must allege which alleged
 2   Defendants or co-conspirators were initial ‘sellers’ of CRTs and name which Defendants, co-
 3   conspirators, OEMs or ‘other suppliers’ were the ‘direct purchasers’ that ultimately sold finished CRT
 4   Products to Dell.” Mot. at 6. Toshiba argued this very same point in the TFT-LCD Antitrust Litigation
 5   on two occasions, and Judge Illston denied both motions. In re TFT-LCD (Flat Panel) Antitrust Litig.
 6   (Viewsonic), No. 07-1827, 2012 WL 5949585, at * 3 (N.D. Cal. Nov. 28, 2012); In re TFT-LCD (Flat
 7   Panel) Antitrust Litig. (Best Buy), No. 07-1827, 2013 WL 254873, at *3-4 (N.D. Cal. Jan. 23, 2013).
 8   In TFT-LCD Antitrust Litigation, the court specifically rejected Toshiba’s argument that plaintiffs must
 9   allege more detailed factual allegations regarding the entities from which a plaintiff purchased price-
10   fixed goods: “The Court also rejects defendants’ argument that [plaintiff] is required to identify with
11   specificity who it purchased finished LCD products from.” TFT-LCD Antitrust Litig., 2012 WL
12   5949585, at *3.
13          The very argument Toshiba makes here has been rejected by other courts as well. See Prince
14   Heaton Enters. v Buffalo’s Franchise Concepts, Inc., 117 F. Supp. 2d 1357, 1364 (N.D. Ga. 2000)
15   (denying motion to dismiss under Illinois Brick where plaintiffs did not make an explicit allegation of
16   ownership or control, because “some degree of control may be implied” and noting that this issue is
17   more appropriate for a motion for summary judgment); In re G-Fees Antitrust Litig., 584 F. Supp. 2d
18   26, 35 (D.D.C. 2008) (denying a motion to dismiss on the grounds that ownership or control exception
19   to Illinois Brick was sufficiently pleaded); In re Mushroom Direct Purchaser Antitrust Litig., No. 06-
20   cv-0620, 2008 WL 583906, at *3 (E.D. Pa. Mar. 3, 2008) (denying motion to dismiss for failure to
21   allege ownership or control exception “[because] plaintiffs’ amended complaint sufficiently alleges
22   that Topco acted as [plaintiffs’] agent in purchasing mushrooms from defendants and that there existed
23   economic unity among Topco and its ‘owner-members.’”); City of Moundridge v. Exxon Mobil Corp.,
24   471 F. Supp. 2d 20, 31-32 (D.D.C. 2007) (denying motion to dismiss when plaintiffs generally alleged
25   that “[d]efendants own or control a number of transmission lines, as well as natural gas marketing
26   entities for the sale and transportation of natural gas produced by them”); In re Mercedes-Benz
27   Antitrust Litig., 157 F. Supp. 2d 355, 367 (D.N.J. 2001) (denying motion to dismiss for failure to allege
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     DELL’S BRIEF IN OPPOSITION TO                                       MASTER FILE NO. 3:07-CV-05944-SC
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 1   facts to support ownership or control exception and noting that Defendants may renew their argument
 2   after a factual record has been developed).
 3          Toshiba’s recycled arguments fall flat here as well. Dell was not privy to the facts that Toshiba
 4   insists that Dell plead regarding ownership or control. Although Dell had knowledge of the companies
 5   from which it purchased CRT Products, it did not have access to the detailed facts regarding the
 6   relationships between those companies and the Defendants and co-conspirators prior to joining the
 7   MDL.6 Dell had sufficient information to allege that at least some of the companies from which it
 8   purchased CRTs were subsidiaries or affiliates of Defendants and co-conspirators, but it could not have
 9   asserted more detailed factual allegations as to those relationships without the benefit of discovery.
10   Having adequately alleged a conspiracy to fix prices of CRTs and that Dell purchased CRT Products
11   that incorporated those price-fixed CRTs directly from Defendants and co-conspirators, and from
12   subsidiaries, affiliates and agents thereof, Dell is not required to allege even more details at the
13   pleading stage.7 See City of Moundridge, 471 F. Supp. 2d at 32 (“At this stage of the lawsuit, the
14   [plaintiffs] have sufficiently pled control even though they have failed to specify the nature of the
15   alleged control.”).
16          Toshiba appears to argue that Dell can only have standing to assert claims against Toshiba if
17   Dell alleges (and ultimately proves) that it purchased CRT Products from a Toshiba entity or that it
18   purchased CRT Products containing a CRT manufactured by Toshiba. This argument is invalid for
19   two reasons. First, Rule 8 does not require this level of detail in a complaint. Second, once a
20   defendant joins a price-fixing conspiracy, it is jointly and severally liable for any action taken by a co-
21          6
               In fact, discovery on this issue is ongoing. Dell served discovery related to the ownership or
22   control exception on the Philips and LGE Defendants in May 2013; other DAPs served similar
     discovery on the remaining Defendants. Bernstein Decl. ¶ 8.
23           7
               The only case Toshiba cites to support its position that Dell must plead specific facts
     regarding ownership or control did not even address the ownership or control exception. In Kendall v.
24   Visa U.S.A., Inc., 518 F.3d 1042 (9th Cir. 2008), the Ninth Circuit dismissed plaintiffs’ claims against
     various credit card consortiums because plaintiffs were “indirect purchasers” and had not alleged
25   sufficient facts to establish an exception to Illinois Brick. Kendall, 518 F.3d at 1049-1050. Unlike
     here, however, the plaintiffs in Kendall never asserted that the middlemen Banks were owned or
26   controlled by the Consortiums. See id. at 1049-1051 (not referring to ownership or control); see also
     Plf. Mem. In Opp. to All Defs.’ Motions to Dismiss, Kendall v. Visa U.S.A. Inc., No. 04-cv-04276, Dkt.
27   No. 91 (June 17, 2005) (failing to assert ownership or control). Instead, they asserted the Banks were
     co-conspirators of the Consortium. Kendall, 518 F.3d at 1050.
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     DELL’S BRIEF IN OPPOSITION TO                                        MASTER FILE NO. 3:07-CV-05944-SC
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 1   conspirator in furtherance of the conspiracy. See, e.g., Tex. Indus. Inc. v. Radcliff Materials, Inc., 451
 2   U.S. 630, 646 (1981); Paper Sys. Inc. v. Nippon Paper Indus. Co., 281 F.3d 629, 633 (7th Cir. 2002)
 3   (“Joint and several liability is [a] vital instrument for maximizing deterrence.”). In Royal Printing Co.
 4   v. Kimberly Clark Corp., 621 F.2d 323 (9th Cir. 1980), the Ninth Circuit held that a plaintiff suing
 5   under the ownership or control exception to Illinois Brick can sue the manufacturers of the products the
 6   plaintiff purchased, along with the other conspiring manufacturers under a joint and several liability
 7   theory. Id. at 327 (holding that plaintiff could sue the appellees that manufactured products sold to
 8   plaintiff and “all the other appellees on a theory of joint and several liability”). Thus, Dell has standing
 9   to sue Toshiba—an alleged price-fixing co-conspirator—under a theory of joint and several liability
10   for purchases Dell made from other Defendants or from companies owned or controlled by other
11   Defendants. Because Dell has alleged that it purchased CRT Products from Defendants and affiliates,
12   subsidiaries and agents of Defendants, FAC ¶¶ 10, 20, 21, Dell has standing to pursue its claim against
13   Toshiba.
14          Importantly, data and documents that Defendants have produced already show that there is no
15   doubt that Dell purchased CRT Products and that it purchased those Products from entities controlled
16   by certain Defendants. Bernstein Decl. ¶ 8. Indeed, this MDL has been ongoing for more than six
17   years and Dell and the other plaintiffs are diligently conducting discovery on liability issues and
18   ownership and control issues. As the court held in TFT-LCD Antitrust Litigation, “where significant
19   evidence of the alleged conspiracy is in the public record, there is no reason to require [plaintiff] to
20   provide this information [regarding the identity of who it purchased from] at the pleading stage.” 2012
21   WL 5949585, at *3. Accordingly, Dell is not and should not be required to allege factual details
22   regarding its suppliers. It is sufficient that Dell has alleged that it purchased CRT Products from
23   Defendants and co-conspirators and from subsidiaries, affiliates and agents of Defendants and co-
24   conspirators.8
25
            8
26             Indirect purchasers who have not satisfied an exception to Illinois Brick still have standing to
     pursue injunctive relief. Lucas Auto. Eng’g, Inc. v. Bridgestone/Firestone, Inc., 140 F.3d 1228, 1235
27   (9th Cir. 1998) (“[I]ndirect purchasers are not barred from bringing an antitrust claim for injunctive
     relief against manufacturers.”). Thus, even if this Court were inclined to require more detailed factual
28   allegations regarding Dell’s standing under the ownership or control exception to Illinois Brick,
                                                          9
     DELL’S BRIEF IN OPPOSITION TO                                         MASTER FILE NO. 3:07-CV-05944-SC
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 1          C.      If the Court Grants Toshiba’s Motion, Dell Should Be Given Leave to Amend
 2          If the Court determines that Dell should include additional factual allegations on ownership or

 3   control, Dell requests that the Court grant it leave to amend the FAC.            The Ninth Circuit has

 4   “repeatedly held that a district court should grant leave to amend even if no request to amend the

 5   pleading was made, unless it determines that the pleading could not possibly be cured by the allegation

 6   of other facts.” Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000) (citations and internal quotation

 7   marks omitted); see also, Mayes v. Leipziger, 729 F.2d 605, 608 (9th Cir. 1984) (holding that the court

 8   “court abused its discretion in not allowing an amendment” permitting the plaintiff to plead that the

 9   statute of limitations was tolled); Udom v. Fonseca, 846 F.2d 1236, 1238 (9th Cir. 1988) (reversible

10   error for court to deny leave to amend even though plaintiff missed the deadline to file an amended

11   complaint and noting that “leave should have been freely granted since amendment was not shown to

12   be futile” (internal quotation and citation omitted)).

13          If the Court believes that Dell should provide additional details regarding its purchases of CRT

14   Products, as explained above, Dell can amend the FAC to include additional factual allegations

15   regarding the entities from which Dell purchased and the facts of which it is currently aware regarding

16   the relationship between those entities and Defendants and co-conspirators.

17   VI.    CONCLUSION
18          For the foregoing reasons, Dell respectfully requests that this Court deny Toshiba’s Motion to

19   Dismiss.

20

21   Date: November 6, 2013

22                                                    Respectfully submitted,

23                                              By:     /s/ Debra D. Bernstein
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27   Toshiba’s Motion to Dismiss should still be denied because Dell has alleged sufficient facts to establish
     standing to pursue its injunctive relief claim. FAC ¶¶ 11, 228.
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